         Case 1:20-cv-10496 Document 3 Filed 12/11/20 Page 1 of 2
IH-32                                                                              Rev: 2014-1




                    United States District Court
                                for the
                   Southern District of New York
                            Related Case Statement
                                              
                            Full Caption of Later Filed Case:

GEORGE C. FENG AND TOM FENG,




                Plaintiff                                        Case Number


                                               20-cv-10496
                  vs.

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THE GOLDFIELD CORPORATION,
DAVID P. BICKS, HARVEY C. EADS, JR.,
JOHN P. FAZZINI, DANFORTH E.
LEITNER, and STEPHEN L. APPEL,

               Defendant

                            Full Caption of Earlier Filed Case:
             (including in bankruptcy appeals the relevant adversary proceeding)


HECTOR LLORENS,




                Plaintiff                                        Case Number

                                               20-cv-10297
                  vs.


THE GOLDFIELD CORPORATION,
DAVID P. BICKS, HARVEY C. EADS, JR.,
JOHN P. FAZZINI, DANFORTH E.
LEITNER, and STEPHEN L. APPEL,

               Defendant


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               Case 1:20-cv-10496 Document 3 Filed 12/11/20 Page 2 of 2
IH-32                                                                                        Rev: 2014-1



Status of Earlier Filed Case:
                         (If so, set forth the procedure which resulted in closure, e.g., voluntary
        ____ Closed      dismissal, settlement, court decision. Also, state whether there is an appeal
                         pending.)
        ✔
    ____ Open            (If so, set forth procedural status and summarize any court rulings.)

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Complaint was filed on December 7, 2020.
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Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
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The later filed case arises out of the same transaction as the earlier filed case. Specifically,
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both cases arise from the same Merger Agreement entered into November 24, 2020
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betweenThe Goldfield Corp. and First Reserve XIV Advisors, L.L.C.and allege violations of
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sections 14(d), 14(e),and 20(a) of the Securities Exchange Act of 1934.
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          s/Justin Kuehn                                                       12/11/2020
Signature: ________________________________________                     Date: __________________

          Moore Kuehn, PLLC
Firm:         ________________________________________


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